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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
RCH                                                610 Federal Plaza
F. #2022R01030                                     Central Islip, New York 11722


                                                   June 13, 2023

By ECF

The Honorable Joanna Seybert
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

              Re:     United States v. George Anthony Devolder Santos
                      Criminal Docket No. 23-197 (JS)                .

Dear Judge Seybert:

               The government respectfully submits, pursuant to Rule 16(d)(1) of the Federal
Rules of Criminal Procedure, a stipulated protective order that limits the disclosure of certain
sensitive material in the above-referenced case. Due to the nature of the conduct at issue in
this matter, unrestricted disclosure of certain information could result in the dissemination of
the personally identifiable information of third parties and witnesses or information related to
ongoing investigations or uncharged individuals. Granting the attached protective order will
allow the government to produce these materials expeditiously, without the need for extensive
redacting, while addressing the aforementioned concerns, including the concerns of third
parties whose personally identifiable information is contained within these materials.
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               Accordingly, the government and counsel for the defendant have jointly agreed
to a stipulated protective order, which is attached hereto. For the foregoing reasons, the
government respectfully requests that the Court so-order the attached stipulated protective
order.

                                                 Respectfully submitted,

                                                 BREON PEACE
                                                 United States Attorney
                                                 Eastern District of New York

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cc:    Clerk of the Court (JS) (by ECF)




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